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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA



TESSIBLE “SKYLER” FOSTER,                       Case No.: 2:23-cv-07441-AB-PVC
MARIE SCOTT, and KRISTA
BAUMBACH,                                       DECLARATION OF
                                                ANDREA R. DUDINSKY OF
                          Plaintiffs,           KROLL SETTLEMENT
                                                ADMINISTRATION LLC IN
              vs.                               CONNECTION WITH
                                                PRELIMINARY APPROVAL OF
800-FLOWERS, INC.,                              SETTLEMENT
                          Defendant.



I, Andrea R. Dudinsky, hereby declare:
       1.     I am a Senior Director of Kroll Settlement Administration LLC
(“Kroll”),1 the proposed Settlement Administrator to be appointed in the above-
captioned case, whose principal office is located at 2000 Market Street, Suite 2700,
Philadelphia, Pennsylvania 19103. I am over 21 years of age and am authorized to
make this declaration on behalf of Kroll and myself. The following statements are
based on my personal knowledge and information provided by other experienced
Kroll employees working under my general supervision. This declaration is being
filed in connection with Plaintiffs’ Motion for Preliminary Approval of the
Settlement.
       2.     Kroll has extensive experience in class action matters, having provided
services in class action settlements involving antitrust, securities, labor and
employment, consumer and government enforcement matters. Kroll has provided



1
  Capitalized terms used but not defined herein shall have the meanings ascribed to
them in the Settlement Agreement entered into in this Action.


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class action services in over 3,000 settlements varying in size and complexity over
the past 50 years.
      3.     Kroll is prepared to provide a full complement of notification and
administration services in connection with the Settlement Agreement, including
dissemination of the notice by email (or by first-class mail where notice delivered to
all known email addresses of a particular Settlement Class Member are bounced
back and where a physical address is available) and through the use of a Settlement
Website to be created in connection with this matter.
      4.     It is Kroll’s understanding that it will be provided with a Class List
under the Settlement Agreement, and the Class List data is to contain a combination
of names, addresses, email addresses, and other data elements pertinent to the
administration of the Settlement.
                                     CAFA Notice
      5.     On behalf of the Defendant, Kroll will provide notice of the proposed
settlement pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715(b) (the
“CAFA Notice”). Kroll will send the CAFA Notice via hard copies of the required
documents via first-class certified mail to (a) the Attorney General of the United
States; and (b) each applicable state Attorney General. Kroll shall send the CAFA
Notice no later than ten (10) Days after the Motion for Preliminary Approval is filed.
Kroll will prepare a draft of each CAFA Notice and send same to Class Counsel and
Defense Counsel (collectively, “Counsel”) to review before Kroll sends each such
CAFA Notice.



                                    Notice by Email
      6.     In preparation for disseminating notices by email, Kroll will work with
“Counsel” to finalize the language for the Email Notice. Once the language for the



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Email Notice is approved, Kroll will create an email notice template in preparation
for the email campaign. Kroll will prepare a file with all Settlement Class Member
email addresses and upload the file to an email campaign platform. Kroll will
prepare email proofs for Counsel’s review and final approval. The proofs/test emails
for approval will include the body of the email and subject line. Once the proofs/test
emails are approved, the email campaign will begin as directed in Paragraph 97 of
the Settlement Agreement.
      7.     Kroll will track and monitor emails that are rejected or “bounced back”
as undeliverable. At the conclusion of the email campaign, Kroll will provide a
report with the email delivery status of each record. The report will include the
number of records that had a successful delivery, and a count of the records where
delivery failed.   Kroll will also update its administration database with the
appropriate status of the email campaign for each of the Settlement Class Member
records.
      8.     If the Email Notice was delivered successfully, no further action will
be taken with respect to the particular Settlement Class Member record.
      9.     If Email Notices are rejected or “bounced back” as undeliverable, or in
the case of where Email Notice is sent to multiple email addresses belonging to a
Settlement Class Member and each such email bounces back, within ten (10) Days
of receipt of such bounce back(s), Kroll will send a Post Card Notice by first-class
mail to the physical address for that record if available, as described below.


                                   Notice by Mail
      10.    Kroll will work with Counsel to format the Post Card Notice for
mailing. Upon approval, Kroll will coordinate the preparation of Post Card Notice
proofs for Counsel’s review and final approval.




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      11.    As required under Paragraph 98 of the Settlement Agreement, Kroll
will send the Post Card Notice by first-class mail to the physical addresses of
Settlement Class Members whose Email Notice returned as a bounce back, or in the
case of where Email Notice is sent to multiple email addresses belonging to a
Settlement Class Member and each such email bounces back, if a physical mailing
address is included in the Settlement Class Member data.
      12.    In preparation for the Post Card Notice mailing, Kroll will send the
Settlement Class Member data for those records who will be receiving a Post Card
Notice through the United States Postal Service’s (“USPS”) National Change of
Address (“NCOA”) database. The NCOA process will provide updated addresses
for Settlement Class Members who have submitted a change of address with the
USPS in the last 48 months, and the process will also standardize the addresses for
mailing. Kroll will then prepare a mail file of Settlement Class Members that are to
receive the Post Card Notice via first-class mail.
      13.    As required under Paragraph 99. of the Settlement Agreement, Postcard
Notices returned by the USPS with a forwarding address will be automatically re-
mailed to the updated address provided by the USPS.
      14.    As required under Paragraph 99 of the Settlement Agreement, Post
Card Notices returned by the USPS undeliverable as addressed without a forwarding
address will be sent through an advanced address search process in an effort to find
a more current address for the record. If an updated address is obtained through the
advanced search process, Kroll will re-mail the notice to the updated address.
                                Settlement Website
      15.    Kroll will work with Counsel to create a dedicated Settlement Website.
The Settlement Website URL will be determined and approved by Counsel. The
Settlement Website will contain a summary of the Settlement, will allow Settlement
Class Members to contact the Settlement Administrator with any questions or



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changes of address, provide notice of important dates such as the Final Approval
Hearing and the Opt-Out and Objection Date, and provide Settlement Class
Members the opportunity to submit exclusion requests online or to request payment
by paper check. The Settlement Website will also contain relevant case documents
including the Settlement Agreement, the Class Notices, the Motion for Preliminary
Approval, the Order Granting Preliminary Approval, the motion for Attorneys’ Fee
Award and Service Award, the Motion for Final Approval, and any other materials
agreed upon by the Parties and/or required by the Court.
                                  Post Office Box
       16.   Kroll will designate a post office box with the mailing address Paiz, et.
al., v. 800-Flowers, Inc., c/o Kroll Settlement Administration LLC, PO Box ####,
New York, NY Zip-Zip4, in order to receive requests for exclusion and
correspondence from Settlement Class Members.
                               Administration Cost
       17.   Based on Kroll’s current understanding of the Settlement Class size and
requested Settlement administration services, estimated Notice and Administration
Costs are approximately $81,091.87 for fees, costs and other expenses incurred for
Settlement administration pursuant to the Settlement Agreement. The current
estimate is subject to change depending on factors such as the actual Settlement
Class size and/or any Settlement administration scope change not currently under
consideration, however subject to certain conditions, Kroll has agreed that Notice
and Administration Costs will not exceed the amount of $89,400.00.2
       18.   Based on Kroll’s current understanding of the Settlement Class size, as
well as the Service Awards amount specified in section Paragraph 109 of the
2
  This “Not-to-Exceed” amount is contingent upon no change in the scope of work
provided and the following assumptions: (1) no more than 112,000 Settlement Class
Members, (2) no more than 5,914 notices being mailed (inclusive of remails), and
(3) no more than 5,600 checks being mailed. Postage rates will increase bi-annually
(January & July) and may cause the Not-to-Exceed amount to increase as this is a
pass-through expense.


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Settlement Agreement, the Attorneys’ Fee Award amount specified in Paragraph
110 of the Settlement Agreement, the Common Fund amount specified in Paragraph
84 of the Settlement Agreement, and using the estimated Notice and Administration
Costs set forth in Paragraph 17 of this declaration, and Plaintiffs’ counsel estimate
that reimbursable costs will not exceed $14,000.00, Kroll estimates the Settlement
Share for each Settlement Class Member would be $6.99. If the Notice and
Administration Costs are equal to the amount not to be exceeded identified in
Paragraph 17 of this declaration, Kroll estimates the Settlement Share for each
Settlement Class Member would be $6.91.


      I declare under penalty of perjury under the laws of the United Sates that the
above is true and correct to the best of my knowledge and that this declaration was
executed on August 30, 2024, in Kansas City, Missouri.




                                               _____________________________
                                               ANDREA R. DUDINSKY




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